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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                      )
                                               )
               Respondent/Plaintiff,           )
                                               )
       v.                                      )     Case No. 03-40053-02-JAR
                                               )              11-4163-JAR
JOHN E. McNEILL,                               )
                                               )
               Movant/Defendant.               )
                                               )

                              MEMORANDUM AND ORDER

       This matter is before the Court on Petitioner John E. McNeill’s Motion under 28 U.S.C.

§ 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (Doc. 396).

The government has responded (Doc. 398) and McNeill has filed a reply (Doc. 403). After a

careful review of the record and the arguments presented, the Court dismisses McNeill’s motion

as untimely.

I.     Background

       On May 21, 2003, the Topeka, Kansas grand jury charged McNeill and three co-

defendants with possessing with the intent to distribute 100 grams or more of PCP, in violation

of 21 U.S.C. § 841(b)(1)(A) (Count 1); and conspiring to distribute 100 grams or more of PCP,

in violation of 21 U.S.C. § 846 (Count 2). Each offense carried a mandatory minimum penalty

of ten years under 21 U.S.C. § 841(b)(1)(A).

       Prior to trial, the government filed an Information under 21 U.S.C. § 851, notifying the

Court that McNeill had been convicted of the offense of Attempted Unlawful Possession with

Intent to Distribute a Controlled Substance, Cocaine, in the Superior Court of the District of
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Columbia, District of Columbia, on or about October 28, 1996.1 On November 26, 2003, a jury

found McNeill guilty of both counts of the Indictment.2

         The Presentence Investigation Report (“PSR”) determined that McNeill’s base offense

level was 34 and his Criminal History Category was I, yielding a Guidelines sentencing range of

151 to 188 months. Because the government filed the § 851 Information regarding McNeill’s

prior conviction, however, he faced a statutory mandatory minimum sentence of 20 years’

imprisonment.

         This Court sentenced McNeill on February 23, 2004. At the sentencing hearing, McNeill

acknowledged that he had been convicted of the offense referenced in the § 851 Information.3 In

imposing sentence, the Court disregarded the calculated Guidelines sentence and imposed the 20

year mandatory minimum sentence, as required by law.4 Judgment was entered February 27,

2004.5

         The Tenth Circuit Court of Appeals denied McNeill’s direct appeal on June 17, 2005,

affirming the judgment.6 McNeill subsequently petitioned the United States Supreme Court for a




         1
          Doc. 81.
         2
          Doc. 111.
         3
          Sent. Hr’g Tr., Doc. 156 at 14–16
         4
          Id. at 5; see 21 U.S.C. § 841(b)(1)(A)(iv) (stating penalty for qualifying offense involving 100 grams or
more of PCP “may not be less than 20 years and not more than life imprisonment” where defendant committed the
offense “after a prior conviction for a felony drug offense has become final”). “Felony drug offense” is defined as a
drug-related “offense that is punishable by imprisonment for more than one year under any law . . . of a State.” 21
U.S.C. § 802(44).
         5
          Doc. 126.
         6
          United States v. McNeill, 136 F. App’x 153 (10th Cir. 2005).

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writ of certiorari, which the Court denied on February 21, 2006.7

       On November 14, 2011, McNeill filed the instant § 2255 motion seeking to vacate his

sentence. The key question presented by McNeill’s motion is whether he had been convicted of

a prior offense “punishable by a term of imprisonment exceeding one year,” resulting in this

Court erroneously enhancing his sentence. The government has responded that the Court need

not reach the merits of McNeill’s claim because his § 2255 motion is untimely.

II.    Discussion

       Standards

       Under § 2255(a):

               A prisoner in custody under sentence of a court established by Act
               of Congress claiming the right to be released upon the ground that
               the sentence was imposed in violation of the Constitution or laws
               of the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
               maximum authorized by law, or is otherwise subject to collateral
               attack, may move the court which imposed the sentence to vacate,
               set aside or correct the sentence.

According to Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts:

               The judge who receives the motion must promptly examine it. If it
               plainly appears from the motion, any attached exhibits, and the
               record of prior proceedings that the moving party is not entitled to
               relief, the judge must dismiss the motion. . . .

       An evidentiary hearing must be held on a § 2255 motion “unless the motion and files and

records of the case conclusively show that the prisoner is entitled to no relief.”8 Because



       7
        Docs. 189, 216.
       8
        28 U.S.C. § 2255(b).

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McNeill appears pro se, his pleadings are to be construed liberally and not to the standard

applied to an attorney’s pleadings.9 If a petitioner’s motion can be reasonably read to state a

valid claim on which he could prevail, the court should do so despite a failure to cite proper legal

authority or follow normal pleading requirements.10 However, it is not “the proper function of

the district court to assume the role of advocate for the pro se litigant.”11 For that reason, the

court shall not supply additional factual allegations to round out a petitioner’s claims or

construct a legal theory on his behalf.12

       Statute of Limitations

       Section 2255(f) provides a one-year limitations period, which generally runs from “the

date on which the judgment of conviction becomes final.”13 That is not the case, however, where

the § 2255 motion involves a right newly recognized by the Supreme Court that is made

retroactively applicable to cases on collateral review. Under those circumstances, the one-year

limitations period begins to run from “the date on which the right asserted was initially

recognized by the Supreme Court, if that right has been newly recognized by the Supreme Court

and made retroactively applicable to cases on collateral review.”14

       McNeill’s conviction became final on February 21, 2006, when the Supreme Court

denied his petition for certiorari. McNeill does not contest that his § 2255 motion was filed


       9
        Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).
       10
           Id.
       11
           Id.
       12
           See Whitney v.New Mexico, 113 F.3d 1170, 1173–74 (10th Cir. 1997).
       13
           28 U.S.C. § 2255(f)(1).
       14
           28 U.S.C. § 2255(f)(3).

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outside the one-year deadline but claims that the timeliness of his motion is governed by the

newly recognized right set forth by the Supreme Court and the Fourth Circuit Court of Appeals

regarding qualification of a prior conviction as a felony, under which his prior conviction for

Attempted Unlawful Possession with Intent to Distribute a Controlled Substance, Cocaine, no

longer qualifies as a “prior conviction for a felony drug offense” under 21 U.S.C . § 841(b)(1)(a).

        On June 14, 2010, the Supreme Court issued a decision in Carachuri-Rosendo v.

Holder,15 which held that to qualify as a prior “aggravated felony” the defendant must have been

actually convicted of a crime that is itself punishable as a felony under federal law, and the mere

possibility that defendant could have received a felony conviction under some hypothetical

scenario is not enough.16 On August 17, 2011, the Fourth Circuit issued an en banc decision in

United States v. Simmons recognizing that the Carachuri rule applied retroactively to cases on

collateral review.17 Overruling prior Fourth Circuit precedent that required a court to consider

the maximum aggravated sentence that any defendant charged with that crime could receive, the

Simmons court held that a court must look to the maximum punishment that the particular

offender could have received in determining whether a prior North Carolina conviction may

serve as a predicate felony for federal sentencing purposes.18

        McNeill argues that he does not rely on Carachuri but rather Simmons as entitling him to

the benefit of the limitations period provided by § 2255(f)(3). McNeill contends that the


        15
          —U.S.—, 130 S. Ct. 2577 (2010).
        16
          Id. at 2579–80.
        17
          649 F.3d 237, 240 (4th Cir. 2011); Farrior v. United States, — F. Supp. 2d —, 2011 WL 5921373 at *1–2
(E.D. N.C. Nov. 7, 2011).
        18
          Simmons, 649 F.3d at 246–49.

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language in § 2255(f)(3) requiring the newly created right be made retroactive does not require

the retroactivity question to be decided “only by the Supreme Court, [and that] any federal Court

[sic] can make the retroactivity decision for the purpose of § 2255(f)(3).”19 Thus, McNeill

argues, the one-year statute of limitations for his Carachuri claim did not begin to run upon the

Supreme Court’s decision on June 14, 2010, but instead upon the Fourth Circuit’s holding in

Simmons on August 17, 2011; and since his § 2255 motion was filed within one year of that

decision, it is timely. This argument is without merit.

       The Supreme Court’s decision in Dodd v. United States,20 clearly holds that the one-year

statute of limitations for filing a motion to vacate based on a right newly recognized by the

Supreme Court runs from the date on which the Supreme Court initially recognized the right

asserted, and not from the date on which the right is made retroactively applicable. In that case,

on April 4, 2001, petitioner Dodd filed a motion under § 2255 to set aside his conviction based

on the Supreme Court decision in Richardson v. United States issued on June 1, 1999.21 On

April 19, 2002, the Eleventh Circuit recognized that the Richardson rule applied retroactively to

its decision in Ross v. United States.22 Dodd’s motion was dismissed as time-barred for filing

more than one year after the Richardson case had been decided.23 Dodd appealed, arguing that

the statute of limitations did not begin to run until the Eleventh Circuit’s decision in Ross.24


       19
         Doc. 403 at 2.
       20
         545 U.S. 353 (2005).
       21
         Id. at 355.
       22
         Id. at 356.
       23
         Id. at 355.
       24
         Id. at 356.

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         Writing for the majority, Justice O’Connor held that the text of § 2255(f)(3)

“unequivocally identifies one, and only one, date from which the 1-year limitations period is

measured,” which is the date that the right asserted was originally recognized by the Supreme

Court.25 The Court discussed the interplay between the two clauses of § 2255(f)(3), and declared

that: “if this Court decides a case recognizing a new right, a federal prisoner seeking to assert

that right will have one year from this Court’s decision within which to file his § 2255 motion.

He may take advantage of the date in the first clause of ¶ 6(3)26 only if the conditions in the

second clause are met.”27 Thus, the majority specifically rejected the reasoning of the dissenting

Justice, “that the limitation period in ¶ 6(3) begins to run when the right asserted is made

retroactive.”28

         In this case, as in Dodd, the statute of limitations for filing McNeill’s right for relief

under § 2255, based on the Supreme Court’s ruling in Carachuri, began to run on June 14, 2010,

when that opinion was issued. McNeill’s contention that the one-year period could only have

begun with the Simmons decision is in error and contradictory to the holding in Dodd. McNeill’s

§ 2255 motion sought to benefit from the Supreme Court’s holding in Carachuri, which was

decided June 14, 2010. Thus, he had one year from that date within which to file his motion.

Because he did not file his motion until November 14, 2011, the motion is untimely.


         25
           Id. at 357. In his dissent, Justice Stevens points out that under the majority’s interpretation, Dodd would
not have any opportunity to file his claim at all, because the statute of limitations had expired before Dodd’s petition
raising the claim could have been filed. Id. at 366 (Stevens, J., dissenting). The majority recognizes this “potential
for harsh results in some cases,” but contends that the Court is “not free to rewrite the statute that Congress has
enacted.” Id. at 359.
         26
           The eight paragraphs of 28 U.S.C. § 2255 have been restyled (a) through (h), effective January 7, 2008.
         27
           Dodd, 545 U.S. at 358–59.
         28
           Id. at 360 (Stevens, J., dissenting).

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III .      Certificate of Appealability

           Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255 Proceedings

requires the Court to grant or deny a certificate of appealability (“COA”) when making a ruling

adverse to the petitioner. “A certificate of appealability may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right.”29 A petitioner may satisfy his

burden only if “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.”30 A petitioner is not required to demonstrate that his appeal will

succeed to be entitled to a COA. He must, however, “prove something more than the absence of

frivolity or the existence of mere good faith.”31 “This threshold inquiry does not require full

consideration of the factual or legal bases adduced in support of the claims. In fact, the statute

forbids it.”32 For the reasons detailed in this Memorandum and Order, McNeill has not made a

substantial showing of the denial of a constitutional right, and the Court denies a COA as to its

ruling on his § 2255 motion.

           IT IS THEREFORE ORDERED BY THE COURT that Petitioner John McNeill’s

Motion to Vacate pursuant to 28 U.S.C. § 2255 (Doc. 396) is DISMISSED as untimely; McNeill

is also denied a COA.

           IT IS SO ORDERED.




           29
            28 U.S.C. § 2253(c)(2). The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).
           30
             Said v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Lennard v. Dretke, 524 U.S. 274, 282
(2004)).
           31
             Miller-El v. Cockrell, 537 U.S. 322, 338 (2003).
           32
             Id. at 336; see also United States v. Silva, 430 F.3d 1096, 1100 (10th Cir. 2005).

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Dated: January 6, 2012
                                           S/ Julie A. Robinson
                                          JULIE A. ROBINSON
                                          UNITED STATES DISTRICT JUDGE




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